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                                    FINAL AWARD


In the Matter of the Arbitration between:



      Dwight Badger, Keith Daubenspeck, and Advanced Equities Financial Corp.
                                (“CLAIMANTS”)

                                            -and-

                    Bloom Energy Corporation (“RESPONDENT”)



CASE NUMBER: 01-18-0002-7891


Counsel:

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   3. The administrative fees of the American Arbitration Association totaling $29,400.00 shall
      be borne as incurred by Claimants.

This Final Award determines all issues submitted for decision in this proceeding. Any claims
not expressly addressed in this Final Award are denied.



 Dated: March 16,               _____________________________________________
 2021
                                             Hiro N. Aragaki, Esq., Chair




                                _____________________________________________

                                          Hon. Chris Cottle (Ret.), Arbitrator




                               ___________   Lesley C. Green_____________________
                                         Hon. Lesley Green (Ret.), Arbitrator




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